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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 COMMISSION FOR LAWYER                             §
 DISCIPLINE,                                       §
                Plaintiff,                         §
 V.                                                §
                                                   §        No. 1:20-CV-89-RP-ML
 BRANDI STOKES,                                    §
                        Defendant.                 §

                         REPORT AND RECOMMENDATION OF
                       THE UNITED STATES MAGISTRATE JUDGE

TO THE HONORABLE ROBERT PITMAN
UNITED STATES DISTRICT JUDGE:

       Before the court are Brandi K. Stokes’s Application to Proceed In District Court Without

Prepaying Fees or Costs (Dkt. #2) and her Motion to Dismiss (Dkt. #3). Having reviewed all the

pleadings, the entire case file, relevant case law, and Stokes’ abusive filing practices in this court,

the undersigned issues the following Report and Recommendation to the District Court

recommending that this case be remanded to state court and Stokes be sanctioned.

I.     BACKGROUND

       In addition to her previous frivolous filings in other cases, this case is at least the third time

Stokes has attempted to remove a state-court disciplinary suit against her brought by the

Commission for Lawyer Discipline. Commission for Lawyer Discipline v. Stokes, No. 1:18-cv-

323-RP (W.D. Tex. October 23, 2018); Commission for Lawyer Discipline v. Stokes, No. 1:19-cv-

754-RP (W.D. Tex. October 23, 2018); see also Stokes v. Corsbie et al., No. 1:17-cv-00115-RP

(W.D. Tex. December 20, 2017) (Dkt. #34); Stokes v. Corsbie et al., No. 1:17-cv-00116-RP (W.D.

Tex. December 20, 2017) (Dkt. #23); Stokes v. Sulak, No. 1:17-cv-01044-RP (W.D. Tex. July 26,

2018). On January 27, 2020, the Clerk’s Office entered an Order by Judge Pitman in Commission



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for Lawyer Discipline v. Stokes, No. 1:19-cv-754-RP (W.D. Tex. October 23, 2018), adopting the

undersigned’s Report and Recommendation that the case be remanded for lack of subject matter

jurisdiction and warning Stokes that “additional frivolous filings or filings made for an improper

purpose will likely lead to sanctions.” Dkt. #26 in No. 1:19-cv-754-RP. Notice of that filing was

electronically mailed to Stokes. Id. Earlier that day—but well after the undersigned’s Report and

Recommendation recommending the warning was entered—she again attempted to remove a state-

court disciplinary action brought by the Commission for Lawyer Discipline. Dkt. #1 in No. 1:20-

CV-89-RP-ML. Although the underlying disciplinary matters are distinct, Stokes appears to base

this removal on the same, previously rejected, ground of her past removal. Compare Dkt. #31

(Motion to Dismiss relying on the Geneva Convention) in No. 1:20-CV-89-RP-ML, with Dkt. #1

(Notice of Removal relying on the Geneva Convention) in No. 1:19-CV-754-RP. For the same

reasons that her previous attempts at removal of disciplinary actions failed, this attempt fails as

well.

II.          APPLICABLE LAW

             The party seeking removal “bears the burden of establishing that federal jurisdiction exists

and that removal was proper.” Manguno v. Prudential Prop. & Cas. Ins. Co., 276 F.3d 720, 723

(5th Cir. 2002). The removal statute must “be strictly construed, and any doubt about the propriety

of removal must be resolved in favor of remand.” Gasch v. Hartford Accident & Indem. Co., 491

F.3d 278, 281–82 (5th Cir. 2007); see also Hood ex rel. Mississippi v. JP Morgan Chase & Co.,

737 F.3d 78, 84 (5th Cir. 2013) (“Any ambiguities are construed against removal and in favor of

remand to state court.”). A federal district court must remand a case to state court if, at any time

before final judgment, it determines that it lacks subject matter jurisdiction. 28 U.S.C. § 1447(c).



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          Stokes included no basis for federal jurisdiction or removal in her Notice of Removal in this case. Dkt. #1.

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III.   ANALYSIS

       It is a “long-established axiom that a plaintiff is master of his complaint.” Bernhard v.

Whitney Nat’l Bank, 523 F.3d 546, 551 (5th Cir. 2008). Under the “well-pleaded complaint” rule,

federal courts have original or removal jurisdiction “only if a federal question appears on the face

of the plaintiff’s well-pleaded complaint; generally, there is not federal question jurisdiction if the

plaintiff properly pleads only a state law cause of action.” Id. (citing Franchise Tax Bd. v. Const.

Laborers Vacation Trust, 463 U.S. 1, 10–11 (1983)). Thus, “[a] defense that raises a federal

question is inadequate to confer federal jurisdiction.” Id. (quoting Merrell Dow Pharm. Inc. v.

Thompson, 478 U.S. 804, 808 (1986)). Likewise, a federal counterclaim does not establish federal

question jurisdiction. Renegade Swift, LLC v. Wright, 857 F.3d 692, 697 (5th Cir. 2017) (citing

Vaden v. Discover Bank, 556 U.S. 49 (2009)).

       As noted previously, “[t]he Commission’s disciplinary petition is a state law action for

alleged violations of several Texas Disciplinary Rules of Professional Conduct.” Compare Dkt.

#1-1 at 3 (Second Amend. Disciplinary Pet.), with Commission for Lawyer Discipline v. Stokes,

No. 1:18-cv-323-RP (W.D. Tex. October 23, 2018) (Dkt. #13 at 2), and Commission for Lawyer

Discipline v. Stokes, No. 1:19-cv-754-RP (W.D. Tex. October 23, 2018) (Dkt. #20 at 3). These

rules were promulgated by the Supreme Court of Texas pursuant to Article II, Section I of the

Texas Constitution and section 81.011(c) of the Texas Government Code. They involve solely

questions of Texas law, and the power to regulate the Texas State Bar rests with the Texas Supreme

Court. In re State Bar of Texas, 113 S.W.3d 730, 732 (Tex. 2003). No federal claims are included

in the state-court Complaint. Dkt. #1-1. Accordingly, “there is nothing on the face of the

Commission’s well-pleaded complaint that raises a federal question.” See Commission for Lawyer

Discipline v. Stokes, No. 1:18-cv-323-RP (W.D. Tex. October 23, 2018) (Dkt. #13 at 2);



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Commission for Lawyer Discipline v. Stokes, No. 1:19-cv-754-RP (W.D. Tex. October 23, 2018)

(Dkt. #20 at 4). This court lacks subject-matter jurisdiction to hear this case, and the case should

be remanded back to state court.

IV.       SANCTIONS RECOMMENDATION

          After the undersigned recommended that Stokes be warned that she would be sanctioned

if she made further frivolous filings, but just before the District Judge issued such a warning,

Stokes again frivolously removed another state-court disciplinary action. After the District Judge’s

warning was entered and electronically sent to Stokes, she did not file any motions to remand this

case to state court or otherwise correct her improper removal. Stokes is a licensed attorney in Texas

and, if not through her education then through her previous filings, is fully aware of the

requirements for subject-matter jurisdiction and removal to federal court. Nonetheless, she

removed yet another case that clearly has no basis for federal jurisdiction.

          Accordingly, the undersigned recommends that she be sanctioned by the District Judge to

include, but not be limited to:

      •   being barred from filing or removing any matter that includes the Commission for Lawyer
          Discipline in the Western District of Texas,

      •   being barred from filing any matter in the Western District of Texas without prior approval
          from a District Judge2; and

      •   any other sanction the District Judge finds necessary to prevent her frivolous and abusive
          filings.

V.        RECOMMENDATION

          For the reasons given above, the undersigned RECOMMENDS this case be

REMANDED to the 345th Judicial District Court of Travis County, Texas. The undersigned


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     The undersigned notes she currently has a purported class action pending in this court on behalf of all protected
persons pursuant to the Geneva Convention. See In re: Brandi K. Stokes, No. 1:19-CV-1021-RP (filed Oct. 18, 2019).
No defendant is actually named in the suit. Id.

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FURTHER RECOMMENDS that Stokes be sanctioned to include, but not be limited to:

      •   being barred from filing or removing any matter that includes the Commission for Lawyer
          Discipline in the Western District of Texas,

      •   being barred from filing any matter in the Western District of Texas without prior approval
          from a District Judge3; and

      •   any other sanction the District Judge finds necessary to prevent her frivolous and abusive
          filings.

VI.       OBJECTIONS

          The parties may file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The District Court need not consider frivolous, conclusive, or general objections. See

Battles v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

          A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the District Court of the proposed findings and

recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by the

District Court. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53 (1985);

Douglass v. United Services Automobile Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).

           SIGNED January 28, 2020.
                                                              _______________________________
                                                              MARK LANE
                                                              UNITED STATES MAGISTRATE JUDGE




      3
     The undersigned notes she currently has a purported class action pending in this court on behalf of all protected
persons pursuant to the Geneva Convention. See In re: Brandi K. Stokes, No. 1:19-CV-1021-RP (filed Oct. 18, 2019).
No defendant is actually named in the suit. Id.

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